     Case 1:16-cv-03088-ELR   Document 470     Filed 12/13/23   Page 1 of 22




             IN THE UNITED STATES DISTRICT COURT
             FOR THE NORTHERN DISTRICT OF GEORGIA
                        ATLANTA DIVISION

UNITED STATES OF AMERICA,

      Plaintiff,                             CIVIL ACTION

v.                                           NO. 1:16-CV-03088-ELR

STATE OF GEORGIA,

      Defendant.


          DEFENDANT STATE OF GEORGIA’S REPLY BRIEF
      IN SUPPORT OF ITS MOTION FOR SUMMARY JUDGMENT
        Case 1:16-cv-03088-ELR                   Document 470             Filed 12/13/23           Page 2 of 22




                                         TABLE OF CONTENTS

Introduction ................................................................................................................1

  I.     Standing ...........................................................................................................2

         A.        Injury In Fact and the At-Risk Theory .................................................. 3

         B.        Traceability ............................................................................................5

  II. The Olmstead Claim ........................................................................................7

         A.        The State Does Not Administer The Alleged
                   Discriminatory Services ........................................................................ 7

         B.        The Need of Individualized Analysis By Competent Professionals ..... 8

         C.        The Necessity of Considering Individuals’ Choice .............................13

         D.        The Failure to Identify Reasonable Accommodations ........................14

         E.        At-Risk Theory ....................................................................................17

  III. The Equal Opportunity Claim .......................................................................17

Conclusion ...............................................................................................................18




                                                           –i–
        Case 1:16-cv-03088-ELR      Document 470     Filed 12/13/23   Page 3 of 22




                                  INTRODUCTION

         The DOJ’s Response in Opposition to the State’s Motion for Summary

Judgment (the “Response”) largely ignores or does not substantively address

controlling precedent and dispositive legal arguments raised in the State’s Brief in

Support of its Motion for Summary Judgment (the “State’s Brief”). 1 In this circuit,
                                                                        0F




the failure to develop an argument in response to a motion for summary judgment

constitutes waiver. Case v. Eslinger, 555 F.3d 1317, 1329 (11th Cir. 2009). When

the Response does address the State’s legal arguments and citations to controlling

precedent, the Response relies exclusively on distinguishable, persuasive authority

from other circuits. The Response also cites to only a few, isolated facts in an

ineffective attempt to create a question of material fact about the DOJ’s sweeping,

systemic allegations. Under these circumstances, the Response has provided this

Court with no sound basis to deny the State’s Motion for Summary Judgment.

            THE BACKGROUND SECTION OF THE STATE’S BRIEF

         Citing specific authority, the State’s Brief demonstrates that Georgia statutory

and regulatory law (1) affords local school districts significant control over K-12

education; and (2) delegates far less jurisdiction to the DOE. [Doc. No. 429-1 at 6-

10 (citations omitted).] The Response ignores this legal analysis completely, and it




1
    This Reply adopts the same abbreviations as the State’s Brief. [Doc. No. 429-1.]
                                           –1–
       Case 1:16-cv-03088-ELR       Document 470    Filed 12/13/23    Page 4 of 22




does not argue that the DOE exceeds its limited jurisdiction to “administer” GNETS.

        In this circuit, precedent treats such silence and even “perfunctory” responses

as waiver. See N.L.R.B. v. McClain of Georgia, Inc., 138 F.3d 1418, 1422 (11th Cir.

1998). Consequently, for purposes of summary judgment, it is undisputed that only

local education officials possess the legal authority to make decisions governing

each act that the DOJ contends is discriminatory, including where students receive

certain special education services, eat, enter buildings, participate in extra-curricular

activities, and transportation. 2
                               1F




             THE ARGUMENT SECTION OF THE STATE’S BRIEF

        The Response sometimes disagrees with the State’s contentions, but usually

fails to explain why or how. Such conclusory statements provide no basis to

overcome summary judgment. Dekalb Cnty. v. HSBC N. Am. Holdings Inc., 1:12-

CV-03640-ELR, 2015 WL 8699229, at *3 (N.D. Ga. Nov. 16, 2015) (conclusory

statements and allegations “have no probative value” at summary judgment).

I.      Standing

        The parties agree that the DOJ must establish constitutional standing. [Doc.

    448-1 at 3.] The disagreement is over whether the DOJ has done so.


2
  This omission is not saved by the DOJ’s Reply Brief in Further Support of Its
Motion for Partial Summary Judgment. [Doc. 442.] That brief fails to respond to
the State’s analysis of Georgia law or the State’s demonstration that the DOJ’s
evidence is inaccurately described. [Doc. 434 at 14-18; Doc. 442 at 9.]
                                         –2–
     Case 1:16-cv-03088-ELR       Document 470      Filed 12/13/23   Page 5 of 22




      A.     Injury In Fact and the At-Risk Theory

      The Response identifies only one injury for standing purposes: “injury to

[federal] sovereignty arising from violations of [federal] laws.” [Doc. 448-1 at 4

(citing Vt. Agency of Nat. Res. v. United States ex rel. Stevens, 529 U.S. 765, 771

(2000); United States v. Raines, 362 U.S. 17, 27 (1960)). But DOJ’s Article II

authority does not satisfy the required Article III injury in this case. As the Eleventh

Circuit explained in United States v. Secretary Florida Agency for Health Care

Administration, 21 F.4th 730, 732–34, 737 (11th Cir. 2021) (denying rehearing en

banc), which the Response does not address, any statutory standing DOJ has arises

on a representative basis of aggrieved persons and not as a person. Because DOJ

cannot assert an ADA claim in its own right, the required Article III injury must

likewise come from the injured party; DOJ’s Article II interests are simply irrelevant.

      DOJ’s reliance on Vermont Agency and Raines is misplaced. As the DOJ

concedes, Vermont Agency did not consider the federal government’s standing, and

the cited reference is distinguishable dicta about enforcing criminal law. 529 U.S.

at 768, 771. The case does show, however, that any offense to sovereignty requires

demonstrating an actual violation of the ADA: discrimination against a “qualified

individual.” 42 U.S.C. 12132. Absent a violation, there is no offense to sovereignty. 3
                                                                                      2F




3
 The Response’s citation to Raines is also unhelpful. That decision addresses the
sovereignty of the United States to enforce constitutional law, but even those
claims require a showing of an actual and not just hypothetical victim.
                                         –3–
     Case 1:16-cv-03088-ELR      Document 470      Filed 12/13/23   Page 6 of 22




      The Response also offers an ineffective defense of the alleged at-risk injury

to unidentified students who may or may not be unjustifiably separated. See

Olmstead v. L.C., 527 U.S. 581, 597 (1999) (plurality opinion) (limiting liability to

“unjustified institutionalization”). The Response first suggests that the State must

identify “at-risk” students however, even as the DOJ acknowledges, only plaintiffs

bear the burden of establishing standing. [Doc. 448-1 at 6 (citing Lujan v. Defs. of

Wildlife, 504 U.S. 555, 560 (1992)]. The citation to Dr. Putnam’s report is also

unavailing, as he claims anyone with a disability is “at-risk” of discrimination. [Doc.

No. 448-1 at 6.] This approach would remove any requirement of discrimination

(e.g., an injury) completely, which is contrary to Olmstead.

      Finally, while the DOJ acknowledges it must show a “concrete” and

“imminent” injury, it fails to do so. [Doc. 441-15 at n.6 (citing Trichell v. Midland

Credit Mgmt., Inc., 964 F.3d 990, 996 (11th Cir. 2020).] Instead, its response is

“perfunctory” and constitutes waiver. McClain of Ga., Inc., 138 F.3d at 1422.

Whatever substance remains is flawed, as the Fifth Circuit recently recognized: the

DOJ’s at-risk theory is incompatible with Olmstead. United States v. Mississippi,

82 F.4th 387, 394 (5th Cir. 2023) (reversing injunction obtained by the DOJ). 4 The
                                                                                 3F




4
 By seeking to impose liability based on disability status alone, the DOJ’s theory
impermissibly removes the anti-discrimination purpose of the ADA altogether. See
Mississippi, 82 F.4th at 393-94.
                                        –4–
     Case 1:16-cv-03088-ELR       Document 470      Filed 12/13/23   Page 7 of 22




Eleventh Circuit also held that potential risk (e.g., being at-risk) is not a cognizable

injury. Trichell, 964 F.3d at 996. The Response’s attempt to distinguish Trichell is

conclusory or limited to those currently receiving GNETS services.

        B.    Traceability

        The DOJ’s traceability arguments also fail. First, by waiving any challenge

to the State’s descriptions of Georgia law and the State government’s limited reach,

the DOJ cannot (and the Response does not) explain how an injunction against the

State would preclude or even impair LEAs and RESAs from: recommending

students for GNETS services; maintaining (or not maintaining) school buildings;

deciding where to provide GNETS services; or making decisions about where

students eat, enter buildings, or participate in extra-curricular activities. See [Doc.

429-1 at 19-20.] This omission constitutes waiver. Case, 555 F.3d at 1329. The

omission is also dispositive. See Jacobson v. Fla. Sec’y of State, 974 F.3d 1236,

1253 (11th Cir. 2020). Controlling precedent explains that traceability is lacking

when the requested judicial action does not impact the complained of conduct. Id. at

1254.

        Similarly, the Response fails to effectively respond to the State’s

demonstration that the DOJ’s requested relief of mandating Apex Program and

PBIS/MTSS in local schools is incompatible with Jacobson. It says only that the

“suggestion is baseless,” but does not dispute that the programs are currently


                                         –5–
     Case 1:16-cv-03088-ELR      Document 470     Filed 12/13/23    Page 8 of 22




voluntary and changing this status would require this Court to rewrite Georgia

statutes and regulations. Such scant treatment is waiver. See McClain of Georgia,

Inc., 138 F.3d at 1422. So is the DOJ’s speculation about what happens “in practice,”

or “as a practical matter,” as it cites no supporting evidence. [Doc. No. 448-1 at 9.]

      One of the DOJ’s only substantive responses claims that GNETS grants are

effectively involuntary, and that the State “shapes … decisions” at the local level.

The argument is not a legal one, and it is based on four deposition excerpts that the

Response cites and does not analyze. [Doc. No. 448-1 at 8.] Upon review, it is

evident that none of the cited testimony supports the DOJ’s contention. Three

deponents describe how GNETS grant amounts are determined, but none testify that

the State “shapes” local decisions. [Doc. Nos. 448-14 (Dep. of W. Braddock); 448-

29 (Dep. of A. McCollum); 448-39 (Dep. of G. Bell)] 5 The fourth deponent, Dr.
                                                         4F




Holifield of the North Metro GNETS center, discussed overall funding, but she did




5
  The Response mislabels the deposition of Geronald Bell as “Exhibit JJ.” [Doc.
No. 448-1 at 9.] Exhibit JJ is the deposition of Larry Winter. Mr. Bell’s deposition
is Ex. II. The description above represents a description of Mr. Bell’s testimony
and not Mr. Winter’s. Any attempt to expand one of the three deponents, Geronald
Bell, beyond this is improper; he repeatedly indicated he was “not familiar” with
the specific question posed by opposing counsel and assumes other information.
Doc. No. [409] at 232:8-234:5 (Dep. of G. Bell). See Fed. R. Civ. Evid. 602, Fed.
R. Civ. P. 56(c)(4), Airington v. ITW Food Equip. Grp. LLC, 1:13-CV-00507-ELR,
2015 WL 11233184, at *6 (N.D. Ga. Apr. 21, 2015) (“At the summary judgment
stage, the Court requires more than Plaintiff's ‘personal speculation’ as to what
happened).
                                        –6–
      Case 1:16-cv-03088-ELR     Document 470      Filed 12/13/23   Page 9 of 22




not testify that GNETS grants are mandatory, that the State shapes her decisions, or

that her experience is representative of others. [Doc. No. 448-1, Ex. I.]

      The few legal arguments on traceability are equally meritless. For example,

the Response asks this Court to speculate about the “likely reaction of third parties”

not before it and who did not testify. [Doc. No. 448-1 at 9 (citing Florida, 2023 WL

4546188, at *12).] The premise for this is the Florida case where, unlike here: (1)

the court had some evidence from the third parties on the issue; and (2) unlike the

DOE, the Florida agency at issue exercised “detailed and demanding” control. 2023

WL 4546188, at *12-13. For these reasons, the alleged harm is neither traceable to

nor redressable by the State. The DOJ simply sued the wrong parties.

II.   The Olmstead Claim

      Olmstead recognized that, because isolation may be appropriate for some and

not others, deciding what constitutes “appropriate” settings are based on an

individual’s needs and must be determined by at least some kind of professional.

527 U.S. at 597, 602. Justice Kennedy’s controlling concurrence also made clear

that these professional determinations are afforded the “greatest deference.” Id. at

610. The DOJ impermissibly seeks to displace this framework by relying on a

generalized approach and claims of systemic discrimination. The claims fail.

      A.     The State Does Not Administer The Alleged Discriminatory
             Services.

      The DOJ asks this Court to impose liability against the State for what the DOJ
                                        –7–
     Case 1:16-cv-03088-ELR      Document 470     Filed 12/13/23    Page 10 of 22




concedes (through waiver) are local officials’ decisions. See [429-1 at 17-19

(citations omitted).] As shown, the DOJ’s proposed remedy makes this clear:

mandating the expansion of the Apex Program and PBIS training does not curtail the

challenged local decisions. This ends the inquiry.

      B.     The Need of Individualized Analysis By Competent Professionals.

      As the Fifth Circuit properly recognized, “[a]ppropriateness, as Olmstead

clearly understood, must be [an] individualized” inquiry. Mississippi, 82 F.4th at

396. This is because only “unjustified” isolation is actionable under the ADA, and

for some, separation is justified and appropriate. Olmstead, 527 U.S. at 597.

Unjustified isolation occurs when the State’s (or at least some) professional has

determined that a disabled and isolated individual can be appropriately served in a

community setting. Id. at 602. The DOJ’s proffered experts agree. (McCart Dep.

143:10–144:1; Putnam Dep. 18:8–21.) Consequently, identifying unjustified

isolation requires the ability to distinguish between those properly receiving services

in separate settings and those who are not. Summary judgment is warranted, because

the DOJ has offered this Court no means to such determinations.

             1.     The Necessity of Individualized Evidence.

      The Response does not challenge the State’s (and Fifth Circuit’s) reading of

Olmstead as requiring individualized analysis. It does not even discuss the opinion.

[Doc. 448-1 at 14-15.] Compare [Doc. 429-1 at 19-24] with [Doc. 448-1 at 14-17.]


                                        –8–
    Case 1:16-cv-03088-ELR      Document 470      Filed 12/13/23   Page 11 of 22




This failure constitutes waiver, meaning, as a matter of law, the DOJ’s generalized

theory is erroneous and summary judgment is warranted. Case, 555 F.3d at 1329.

      Instead of addressing Olmstead, the Response relies entirely on one reversed

decision from a New York District Court. [Doc. 448-1 at 14 (citing Disability

Advocs., Inc. v. Paterson, 653 F. Supp. 2d 184, 258-59 (E.D.N.Y. 2009) (reversed

for lack of standing by Disability Advocs., Inc. v. N.Y. Coalit. for Quality Assisted

Living, Inc., 675 F.3d 149, 152 (2d Cir. 2012)). But, as should be obvious, Olmstead

controls, not Paterson. See Generali v. D’Amico, 766 F.2d 485, 489 (11th Cir. 1985).

Further, Paterson is no longer good law because the plaintiff lacked standing to make

generalized representations about what is “appropriate.” See N.Y. Coal. for Quality

Assisted Living, Inc., 675 F.3d at 157-58. 6 Paterson is also distinguishable, because
                                          5F




the government did not argue for individualized evidence, and the dispute was over

the role of expert testimony. 653 F. Supp. 2d at 258.

      The DOJ’s factual arguments on the need for individualized analysis are

equally unavailing. [Doc. No. 448-1 at 15-17.] Dr. McCart’s testimony does not

provide any basis to identify persons subject to alleged unjustified separation: she



6
  Further demonstrating the lack of legal support for its position, the DOJ retreats
to inappropriate policy arguments. Any unjustified concerns about correcting
“large-scale discrimination” presents an issue for Congress or the Supreme Court
should it revisit Olmstead. [Doc. 448-1 at 14.] “[P]arties should not seek to amend
the statute by appeal to the Judicial Branch.” 14 Penn Plaza LLC v. Pyett, 556 U.S.
247, 270 (2009) (citation omitted).
                                        –9–
     Case 1:16-cv-03088-ELR      Document 470      Filed 12/13/23   Page 12 of 22




did not review the “vast majority” of files, challenged no specific IEP Team’s

determination, and identified no individual student. McCart Dep. 141:10-19, 118:8-

120:5. As the DOJ acknowledges, Dr. Putnam did not address the issue at all. [Doc.

No. 448-1 at 16 n.17.]

      Instead of the individualized approach the DOJ adopted in the Florida

litigation, here it cites documents about only ten students. 7 This falls well short of
                                                             6F




creating a question of material fact about the DOJ’s systemic claims. [Doc. 448-1 at

2.] The evidence itself is substantively weak. It contains inadmissible hearsay. Fed.

R. Civ. Evid. 802, Fed. R. Civ. P. 56(c)(4). The documents do not show, as the

Response claims, that students “succeeded in community” placements. [Doc. 448-1

at 15 n.15.] Indeed, only three documents, Exhibits 10, 21, and 40, suggest that the

student was referred out of the GNETS Program. If anything, the evidence shows a

working system preventing unjustified isolation. Similarly, the cited documents do

not support the DOJ’s claim that the “State itself believes that entire populations of

students” may be inappropriately referred for GNETS services. [Doc. No. 448-1 at

15 n.15.] Exhibit 28 contains inadmissible hearsay and makes no conclusions.

Brooke Cole’s deposition reaches no conclusion, and as a local official, she cannot



7
  The Response attempts to distinguish the Florida case by pointing out that the
decision was issued after trial. [Doc. 448-1 at 5 n.5.] This is irrelevant. Rule 26(e)
precludes the DOJ from offering new expert analysis at trial, and Rule 56 requires
relevant evidence to be cited now. See Case, 555 F.3d at 1329.
                                        – 10 –
     Case 1:16-cv-03088-ELR      Document 470        Filed 12/13/23   Page 13 of 22




testify about what “the State itself believes.” [Id. (citing Exhibit K).]

             2.     The Necessity of Professional Judgment

      The Eleventh Circuit recently reaffirmed that, under Olmstead, plaintiffs must

show “a determination by the State’s treatment professionals that [community]

placement is appropriate.” United States v. Florida, 938 F.3d 1221, 1250 (11th Cir.

2019). The DOJ disagrees, but it fails to address either controlling opinion and

instead relies on non-binding decisions. Legally, this is insufficient. Factually, it

ignores that the only individualized assessments were completed by IEP Teams, Ga.

Comp. R. & Regs. 160-4-7-.15(3)(c). 8  7F




      In addition, this Court’s order denying the State’s motion to dismiss is not

controlling given the different standard of review. [Doc. No. 61 at 16.] The DOJ’s

reliance on 28 C.F.R. § 35.130(d) fails, because a federal regulation cannot trump

the Supreme Court’s interpretation of it in Olmstead. 527 U.S. at 592. The DOJ’s

remaining legal argument, a citation to non-binding authority, neither addresses nor

overcomes Olmstead or Florida. [Doc. No. 448-1 at 12-13 (citing Radaszewski ex

rel. Radaszewski v. Maram, 383 F.3d 599, 600 (7th Cir. 2004); Z.S. v. Durham Cnty.,

1:21CV663, 2022 WL 673649, at *1 (M.D.N.C. Mar. 7, 2022); Paterson, 653 F.


8
  Whether this Court cites Justice Kennedy’s concurrence and requires a
physician’s opinion, or whether it relies on the plurality decision and mandates
some “professional” determination (e.g., an IEP Team), there is no support for the
idea that an absence of competent, individualized assessments is necessary.
Olmstead, 527 U.S. at 602, 610.
                                            – 11 –
     Case 1:16-cv-03088-ELR      Document 470      Filed 12/13/23   Page 14 of 22




Supp. 2d at 258-59.] Maram and Z.S. involved individual plaintiffs and deferential

standards of review; no one said the Maram plaintiff needed separate services, and

a treating professional opined community placement was appropriate in Z.S. 383

F.3d at 613; 2022 WL 673649 at *1 (reviewing a motion to dismiss). Paterson

involved service providers who were monetarily incented not to conduct individual

reviews and did not. 653 F. Supp. 2d at 259. 98F




      The only evidence the Response cites in support of its argument are the DOE’s

internal review of five IEPs. [Doc. No. 448-1 at 13 n.14.] This limited evidence

hardly shows that local districts “often” fail to create exit criteria as DOJ suggests.

[Id.] Moreover, neither of the DOJ’s experts assessed these five students’ needs. If

anything, the documents demonstrate efforts to prevent unjustified isolation.

             3.     The New “Per Se” Claim.

      The Response represents the first time the DOJ argues that the LEAs and

RESAs should cease providing GNETS services. [Doc. 448-1 at 16-17.] Neither

Olmstead nor the DOJ’s proffered experts support this policy, because for some, “no

placement outside the institution may ever be appropriate.” 527 U.S. at 605; McCart


9
  The Fifth Circuit considered the same authority in Mississippi, and it concluded
each decision was “distinguishable or unreliable legally.” 82 F.4th at 396. None of
the cases involved a demand too “completely rework[ a] state benefit programs,”
and most were based on judicial deference to the DOJ’s regulations that is no longer
appropriate. 82 F.4th at 394 (citing Kisor v. Wilkie, 139 S. Ct. 2400, 2414 (2019)),
396. The Response is silent on this analysis too. [Doc. No. 448-1 at 28-29.]

                                        – 12 –
     Case 1:16-cv-03088-ELR     Document 470      Filed 12/13/23   Page 15 of 22




Dep. 143:10–144:1; Putnam Dep. 18:8–21. This makes the Response’s citation to

Dr. McCart’s report especially weak. [Doc. 448-1 at 17 (citing McCart Rep. at 158).]

Dr. McCart’s concedes that none of her recommendations would take longer than

three years to implement and she did not recommend a review of the IEPs of all

students currently receiving GNETS services. (McCart Dep. 203:7-205:8.) 10   9F




      C.     The Necessity of Considering Individuals’ Choice.

      The DOJ agrees with Olmstead: the ADA does not mandate that “community-

based treatment be imposed on [those] who do not desire it.” Olmstead, 527 U.S. at

602; [Doc. 448-1 at 17]. The Response’s attempt to show non-opposition, however,

fails in the light of the DOJ’s sweeping, systemic claims. Specifically, of the

thousands of students that the DOJ contends are subject to discrimination, the

Response cites documents about only eight. [Doc. 448-1 at 8-19 n.20.] Based on

this woefully insufficient sample of hearsay evidence, the Response erroneously

demands that this Court make unsupported presumptions about what the “vast

majority” of GNETS students would “likely” decide. [Doc. 448-1 at 18 (citing

Paterson, 653 F. Supp. 2d at 260-67]. 11 There is no basis or reason to do so.
                                      10F




10
   As important, Olmstead makes clear that liability cannot be based on challenges
to the quality of services. 527 U.S. at 603 n.14 (plurality opinion).
11
   Equally unavailing is Dr. McCart’s inadmissible and unscientific opinion
describing an unquantified and unidentified number of “records indicat[ing] the
hopelessness.” (McCart Rep. at 154.) See State’s Motion to Exclude Testimony of
Dr. Amy McCart at 20-21.
                                        – 13 –
    Case 1:16-cv-03088-ELR      Document 470      Filed 12/13/23   Page 16 of 22




      DOJ next claims that local officials do not provide sufficient “individualized”

information about alternatives to GNETS. [Doc. 448-1 at 20 (emphasis added).]

While the sudden concern about individualization is curious, the DOJ cites no actual

evidence of insufficient communication or that it comes from the State. The citation

to Dr. McCart is unavailing, as she fails to identify any individual student or

insufficient communication. (McCart Dep. 56:14-57:20.) Also, the cited Exhibits 22

and 23 are not only an insufficient sample, they are inadmissible hearsay.

      D.     The Failure To Identify Reasonable Accommodations.

      As part of its prima facie case, the Response advocates for two proffered

reasonable accommodations: (1) mandatory PBIS and MTSS training; and (2)

mandating schools to partner with Apex Program providers. [Doc. 448-1 at 23.] It

failed, however, to provide this Court with any basis to conclude the policies are

“reasonable” in the light of binding precedent.

      First, the Eleventh Circuit held that any determination of reasonableness must

be based on individual circumstances and not generalized theory. Bircoll, 480 F.3d

at 1086. The court’s reasoning is simple and consistent with Olmstead: “terms like

reasonable are relative to the particular circumstances of the case … [and] must be

decided case-by-case based on numerous factors.” Id. The DOJ’s experts agree.

McCart Dep. 104:8-11 and 62:18-63:2. Putnam Dep. 19:18-21; 63:1-16; 121:15-8.

Thus, just as in Bircoll, summary judgment is warranted because the Response does


                                       – 14 –
     Case 1:16-cv-03088-ELR     Document 470                Filed 12/13/23   Page 17 of 22




not show reasonableness tailored to any individual student’s “particular

circumstances.” Id. This is especially true given the Response’s inaccurate treatment

of the binding Bircoll decision.     It does not, as DOJ contends, address the

fundamental alteration defense; the court concluded the plaintiff’s requested

accommodation was “per se not reasonable.” 12 Compare [Doc. No. 448-1 at 27
                                                11F




n.27] with 480 F.3d at 1086 (emphasis added). 13 The Response’s mention of the
                                                      12F




State’s system of care does not change this conclusion. 14 480 F.3d at 1086.
                                                                  13F




      Nor does one of the Response’s few discussions of the Olmstead decision,



12
   The Response claims that the Bircoll decision “in no way alters the burden
shifting framework established in Olmstead.” [Doc. 448-1 at 27 n.27.] Bircoll
does not address the burden shifting of Olmstead. As in Bircoll, the burden never
shifts to the fundamental alteration defense, because the DOJ does not satisfy its
prima facie burden of demonstrating the reasonableness of his requested
accommodation. 480 F.3d at 1086. See Florida, 2023 WL 4546188 at *5.
13
   Districts court in this circuit have uniformly cited Bircoll when considering the
plaintiff’s burden to show a reasonable accommodation and not the fundamental
alteration defense. See Boudreau v. Nocco, 8:21-CV-1158-VMC-AEP, 2022 WL
17812876, at *5 (M.D. Fla. Nov. 2, 2022), report and recommendation adopted,
8:21-CV-1158-VMC-AEP, 2022 WL 17369636 (M.D. Fla. Dec. 2, 2022); Harvard
v. Dixon, 4:19-CV-212-AW-MAF, 2022 WL 21694010, at *7 (N.D. Fla. July 25,
2022); Yelapi v. DeSantis, 487 F. Supp. 3d 1278, 1288 (N.D. Fla. 2020); Garner v.
City of Ozark, 1:13-CV-90-WKW, 2015 WL 728680, at *8 (M.D. Ala. Feb. 19,
2015); Gaylor v. Georgia Dep’t of Nat. Res., 2:11-CV-288-RWS, 2013 WL
4790158, at *5 (N.D. Ga. Sept. 6, 2013); Tucker v. Bradshaw, 11-80058-CIV, 2012
WL 13018592, at *5 (S.D. Fla. Dec. 20, 2012).
14
   The State’s system of care also speaks of greater coordination between agencies.
[Doc. No. 448-1 at 25 n.26.] It does not support the feasibility of a dramatic
expansion of the Apex Program during a dramatic workforce shortage and (at
worst) unknown cost, nor does it call for the State legislature to mandate PBIS in
every school in Georgia. [Id., Ex. 47.]
                                          – 15 –
    Case 1:16-cv-03088-ELR      Document 470     Filed 12/13/23   Page 18 of 22




where it misreads footnote 16. 527 U.S. at 606 n.16. The Response claims that the

plurality’s identifying of cost and workforce considerations apply to the fundamental

alteration defense, because the footnote references a Rehabilitation Act regulation

on “fundamental hardship.” This is incomplete: the reference to the Rehabilitation

Act was part of the construction of DOJ’s “reasonable modification” regulation. Id.

      The Response also fails to explain how a request to increase the “amount and

intensity” of behavioral services is not an impermissible demand that the State

expand services. [Doc. 448-1 at 23, 32.]. The Response’s citation to inapplicable,

persuasive authority—that neither addresses education nor involves a total absence

of cost analysis—does not excuse its failure to address binding precedent’s treatment

of these issues. [Doc. 448-1 at 25-26 (citing Henrietta D. v. Bloomberg, 331 F.3d

261, 280 (2d Cir. 2003); Maram, 383 F.3d at 611-12; United Spinal Ass’n v. Bd. of

Elections in N.Y., 882 F. Supp. 2d 615, 626-27 (S.D.N.Y. 2012); Haddad v. Arnold,

784 F. Supp. 2d 1284, 1284 (M.D. Fla. 2010); Messier v. Southbury Training Sch.,

562 F. Supp. 2d 294, 298 (D. Conn. 2008); Paterson, 653 F. Supp. 2d at 192.]

      All that remains is Dr. Putnam’s claim that Georgia could fund a massive

Medicaid expansion by simply “reallocating” the limited GNETS grant funds. [Doc.

448-1 at 24.] This unscientific and inadmissible opinion does not create a material

question of fact given Dr. Putnam’s concessions that: he “do[esn’t] know a lot about

GNETS;” performed no “cost analysis” to support this hypothetical, and based his

                                       – 16 –
       Case 1:16-cv-03088-ELR    Document 470     Filed 12/13/23      Page 19 of 22




conclusion on the experience of one urban school district in Massachusetts that

Dr. Putnam acknowledges “may be problematic” if applied to rural schools. (Putnam

Dep. 18:19-22; 97:6-10; 39:18-40:6.) See also McKay Declaration at ¶¶ 6-11. 15    14F




        E.    At-Risk Theory

        The State responds to the DOJ’s inappropriate at-risk theory above in the

section addressing the lack of an injury-in-fact. See supra at I.A.

III.    The Equal Opportunity Claim

        The Response clarifies the DOJ’s equal opportunity claim, but it does not save

it. The alternative theory is based on 28 C.F.R. § 35.130(b)(3), which prohibits

public entities from “utiliz[ing] methods of administration” that either “have the

effect” of discriminating against qualified individuals because of their disability or

have the purpose or effect of “defeating or substantially impairing” the public

entity’s program’s objectives. The Response does not explain which theory it is

choosing, but it is immaterial. The State neither administers the GNETS Program—

directly or through contractual or other arrangements—nor does it control the

decisions the DOJ cites as discrimination. See supra at II.A.; [Doc. No. 434].

        Moreover, the Response does not identify a qualified individual subject to

discrimination or identify any comparative data from other states that would be



15
  Even if this Court strikes McKay’s declaration, the DOJ has still failed to
provide any competent evidence on cost and, thus, failed to meet its burden.
                                        – 17 –
     Case 1:16-cv-03088-ELR     Document 470          Filed 12/13/23   Page 20 of 22




necessary to show that the administration of GNETS “defeat[s] or substantially

impair[s]” its purpose. 28 C.F.R. § 35.130(b)(3)(ii). In fact, Dr. Wiley’s report

demonstrates that, comparatively, the State provides significant integrated services.

Wiley Rep. at 15-16. It is clear, however, that DOJ’s challenge is to the quality of

services, despite that Olmstead rejects such an approach. 527 U.S. at 603 n.14.

Indeed, the DOJ retained Dr. McCart to address quality issues, and she opined about

“ineffective” services. (McCart Rep. at 1, 3, 11, 67, 136, 140, 139, 144-46.)

      Finally, the Response does not substantively explain how the educational

opportunity claim does not rise under the IDEA. 16 See Fry v. Napoleon Cmty. Sch.,
                                                15F




580 U.S. 154, 171 (2017). Indeed, it ignores the two-part test in Fry altogether. The

Response also concedes that the complaint employs IDEA language. [Doc. 429-1 at

35 (citing 20 U.S.C. § 1401(9)(B).] These “perfunctory” responses do not overcome

summary judgment in this circuit. McClain of Georgia, Inc., 138 F.3d 1418, 1422.

                                 CONCLUSION

      For the reasons stated above, the State of Georgia respectfully requests that

the Court grant its Motion for Summary Judgment.




16
  The Response does not dispute that the DOJ lacks authority to bring an ADA
IDEA claim. See 20 U.S.C. § 1416 (granting the USDOE exclusive authority to
bring IDEA claims).
                                       – 18 –
   Case 1:16-cv-03088-ELR     Document 470    Filed 12/13/23    Page 21 of 22




     Respectfully submitted, this 13th day of December, 2023.

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                                    – 19 –
    Case 1:16-cv-03088-ELR   Document 470    Filed 12/13/23   Page 22 of 22




                  LOCAL RULE 7.1(D) CERTIFICATION

     I certify that this State of Georgia’s Brief in Support of Its Motion for

Summary Judgment has been prepared with one of the font and point selections

approved by the Court in Local Rule 5.1. Specifically, this document has been

prepared using 14-pt Times New Roman font and type.

                                      /s/ Josh Belinfante
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